        Case 1:21-cr-00451-CJN Document 17 Filed 04/01/21 Page 1 of 1




                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                )
                                        )
v.                                      )      CRIMINAL NO. 21-mj-00109
                                        )
SUZANNE IANNI,                          )
    Defendant                           )


                                       ORDER

      Based upon the representations in the Joint Motion to Continue, and

upon consideration of the entire record, it is hereby

      ORDERED that the Joint Motion to Continue is GRANTED, and the hearing

scheduled for April 1, 2021 is continued until May 28, 2021 at 1:00 p.m. before

Magistrate Judge Robin M. Meriweather. It is

      FURTHER ORDERED that the time between April 1, 2021 and May 28, 2021

is excluded from calculation under the Speedy Trial Act. The Court finds that the

ends of justice served by the granting of such continuance outweigh the best

interests of the public and Defendant in a speedy trial, as the continuance will

provide the parties with additional time to review the voluminous amount of

discovery involved in this case.



                                                           G. Michael Harvey
                                                           2021.04.01
                                                           23:07:05 -04'00'
                                    ____________________________________________
                                    THE HONORABLE G. MICHAEL HARVEY
                                    UNITED STATES MAGISTRATE JUDGE
